
279 N.E.2d 812 (1972)
THE METROPOLITAN DEVELOPMENT COMMISSION OF MARION COUNTY, and the Department of Metropolitan Development by the City of Indianapolis by Its Division of Planning and Zoning, Appellants,
v.
Edward CULLISON et al., Appellees.
No. 771A127.
Court of Appeals of Indiana, Second District.
March 13, 1972.
*813 Harold Kohlmeyer, Jr., David F. Rees, Indianapolis, for appellants.
Richard M. Salb, Indianapolis, for appellees.
William F. LeMond, Kammins, LeMond, Carson &amp; Stewart, Indianapolis, for Clark Oil &amp; Refining Corp., amicus curiae.

ON PETITION FOR REHEARING
WHITE, Judge.
For the first time the case of Wiedenhoft v. City of Michigan City (1968), 250 Ind. 327, 236 N.E.2d 40, has been called to our attention in appellants' petition for rehearing. That case is of no help to appellants in their attempt to make themselves persons "aggrieved" within the meaning of the certiorari statute (IC 1971, XX-X-X-XX, Ind. Ann. Stat. § 53-974 [Burns' 1971]) quoted in our initial opinion even though the United States Supreme Court has since held that a federal taxpayer may be shown to have standing to challenge federal legislation.[1]
Appellants, as governmental instrumentalities, play a part in the administrative process of regulating zoning not significantly unlike that of the township assessor in the process of assessing for taxation. In Fadell v. Kovacik (1962), 242 Ind. 610, 615, 181 N.E.2d 228, 230, an assessor sought unsuccessfully a circuit court reversal of a final assessment by the State Board of Tax Commissioners which had reduced his initial assessment. In affirming the circuit court's dismissal, Judge Arterburn said:
"The township assessor is only a part of the administrative process in fixing assessments for taxation. He has no private or personal interest, and should have no interest as a township assessor, other than that which the State has. The State Board of Tax Commissioners likewise is a part of that administrative procedure. Both the township assessor and the State Board of Tax Commissioners are governmental instrumentalities, representing the State without any personal or private interests....
"We find nothing in the Statutes which gives the township assessor the right to question the final decision of the State Board of Tax Commissioners, which board, under the statute, is given authority to make a final determination upon appeal, as here."
Appellants' petition for rehearing having failed to convince us that our decision was erroneous is accordingly denied.
LOWDERMILK and SULLIVAN, JJ., concur.
NOTES
[1]  Flast v. Cohen (1968), 392 U.S. 83, 88 S.Ct. 1942, 20 L.Ed.2d 947.

